                       Case 4:13-cr-00167-KGB                   Document 202            Filed 02/10/16          Page 1 of 7
AO 24SB (Rev. I 0/1 S) Judgment in a Criminal Case
                       Sheet I

                                                                                                                               EB 10 2016
                                            UNITED STATES DISTRICT COURTJAMEsw
                                                                                                               By·          . c.COJJMAtfi<
                                                           Eastern District of Arkansas                           •            c~ ~··~ f/M• CLERK
                                                                           )
               UNITED STATES OF AMERICA                                    )      JUDGMENT IN A CRIMINAL CASE
                                    v.                                     )
                      JUSTIN PRINCE PETTIS                                 )
                                                                                  Case Number: 4:13CR00167-03 JLH
                                                                           )
                                                                           )      USM Number: 27807-009
                                                                           )
                                                                           )       Lott Rolfe, IV
                                                                           )      Defendant's Attorney
THE DEFENDANT:
~pleaded guilty to count(s)              Counts 1 and 27 of Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended
 18 U.S.C. § 1951(a)                 Conspiracy to interfere with commerce by robbery,                       2/28/2013

                                      a Class C felony

 18 U.S.C. § 1951 (a)                Interference with commerce by robbery, a Class C felony                 2/28/2013                    27

       The defendant is sentenced as provided in pages 2 through         __7___ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
~ Count(s)        Counts 15 and 26                       o is      ~are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any chan,ge of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economic circumstances.

                                                                          2/10/2016




                                                                          J. Leon Holmes, United States District Judge
                                                                         Name and Title of Judge


                                                                          2/10/2016
                                                                         Date
                      Case 4:13-cr-00167-KGB                Document 202          Filed 02/10/16        Page 2 of 7
AO 245B (Rev. 10/15) Judgment in Criminal Case
                       Sheet 2 - Imprisonment
                                                                                                  Judgment - Page --'2~- of   7
 DEFENDANT: JUSTIN PRINCE PETTIS
 CASE NUMBER: 4:13CR00167-03 JLH

                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

  96 MONTHS




     ~    The court makes the following recommendations to the Bureau of Prisons:

  The Court recommends defendant participate in residential substance abuse treatment, mental health counseling with an
  emphasis in anger management, and educational and vocational programs during incarceration.


     Ill The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
         D at                                                 D p.m.       on

          D as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         D before 2 p.m. on
         D as notified by the United States Marshal.
          D   as notified by the Probation or Pretrial Services Office.



                                                                  RETURN
I have executed this judgment as follows:




         Defendant delivered on                                                       to

a _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL


                                                                          By
                                                                                           DEPUTY UNITED STATES MARSHAL
                       Case 4:13-cr-00167-KGB                  Document 202             Filed 02/10/16           Page 3 of 7
AO 24SB (Rev. 10/15) Judgment in a Criminal Case
                      Sheet 3 - Supervised Release
                                                                                                            Judgment-Page _ _ _ of
 DEFENDANT: JUSTIN PRINCE PETTIS
 CASE NUMBER: 4:13CR00167-03 JLH
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of :
 THREE (3) YEARS on each count to run concurrently

         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
 custody of the Bureau of Prisons.
 The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ani:l at least two periodic drug tests
thereafter, as determined by the court.
 D       The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

         The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
D        as direc~ed by the probation offi~er, the Burea1;1 of Prisons, or any state sex offender registration agency in which he or she resides,
         works, IS a student, or was convicted of a quahfymg offense. (Check, if applicable.)

D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
    1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
    3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shall support his or her dependents and meet other family responsibilities;
    5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
    6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the d~f~ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          perm1ss10n of the court; and
  13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
          record or Rersona1 history or characteristics and shall permit the probation officer to make such notifications and to confirm the
          defendant s compliance with such notification requirement.
                     Case 4:13-cr-00167-KGB        Document 202          Filed 02/10/16       Page 4 of 7
AO 245B (Rev. 10/15) Judgment in a Criminal Case
        Sheet 3A - Supervised Release
                                                                                           Judgment-Page    4     of      7
DEFENDANT: JUSTIN PRINCE PETTIS
CASE NUMBER: 4:13CR00167-03 JLH

                                      ADDITIONAL SUPERVISED RELEASE TERMS
 14) The defendant must participate, under the guidance and supervision of the probation officer, in a substance abuse
 treatment program which may include testing, outpatient counseling, and residential treatment. The defendant must
 abstain from the use of alcohol throughout the course of treatment.

 15) The defendant must participate in mental health treatment under the guidance and supervision of the probation office.

 16) The defendant must participate in a cognitive behavior therapy program under the guidance and supervision of the
 probation officer.

17) The defendant must disclose financial information upon request of the probation office, including, but not limited to,
loans, lines of credit, and tax returns. This also includes records of any business with which the defendant is associated.
No new lines of credit may be established without prior approval of the probation office until all criminal penalties have
been satisfied.
                      Case 4:13-cr-00167-KGB                    Document 202              Filed 02/10/16             Page 5 of 7
AO 245B (Rev. 10/15) Judgment in a Criminal Case
         Sheet 5 - Criminal Monetary Penalties
                                                                                                             Judgment -   Page   --=-5- of   7
 DEFENDANT: JUSTIN PRINCE PETTIS
 CASE NUMBER: 4:13CR00167-03 JLH
                                                   CRIMINAL MONETARY PENALTIES
       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                        Assessment                                        Fine                                     Restitution
 TOTALS               $ 200.00                                          $ 0.00                                   $ 31,353.05


 0     The determination of restitution is deferred until
                                                          - - -. An Amended Judgment in a Criminal Case (AO 245C) will be entered
       after such determination.

el     The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
       the priori!)' order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
       before the United States is paid.

     Name of Payee                                                            Total Loss*          Restitution Ordered Priority or Percentage
     Andy's Restaurant                                                                                            $1,193.00

     Burger King                                                                                                    $596.00

     Carlisle Citgo                                                                                               $1,056.04

     Dollar General                                                                                               $1,087.00

     Doublebee's #131                                                                                             $6,107.25

     Little Caesar's Pizza                                                                                        $1,500.00

     McDonald's                                                                                                   $2,100.00

     Shell Superstop in Benton                                                                                      $700.00
     Shell Superstop in Bryant                                                                                      $380.00

     Taco Bell                                                                                                    $1,055.00

     Taco Bueno                                                                                                   $2,008.61


 TOTALS                               $                         0.00                              31,353.05
                                          ~~~~~~~~~




 0      Restitution amount ordered pursuant to plea agreement $           ~~~~~~~~~~




 0      The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
        fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
        to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 Ill    The court determined that the defendant does not have the ability to pay interest and it is ordered that:

        Ill the interest requirement is waived for the         0 fine      Ill restitution.
        0   the interest requirement for the        0   fine    0      restitution is modified as follows:

 * Findings for the total amount oflosses are required under Chapters 109A, 110, 1 lOA, and 113A of Title 18 for offenses committed on or after
 September 13, 1994, but before April 23, 1996.
                     Case 4:13-cr-00167-KGB
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                                                         Document 202            Filed 02/10/16         Page 6 of 7
        Sheet SB - Criminal Monetary Penalties
                                                                                                    Judgment-Page      6     of       7
DEFENDANT: JUSTIN PRINCE PETTIS
CASE NUMBER: 4:13CR00167-03 JLH

                                             ADDITIONAL RESTITUTION PAYEES
                                                                                                                           Priority or
Name of Payee                                                       Total Loss*            Restitution Ordered             Percentaie

 Tropical Smoothie Cafe                                                                              $1,500.00
 Wendy's Restaurant on Markham                                                                       $2,707.72
 Wendy's Restuarant on Cantrell                                                                      $1,422.27
 Mabelvale Automotive                                                                                $4,000.00
 Bestway Rent-to-Own                                                                                   $959.49
 Dodge Store                                                                                         $1,295.00
 Wendy's Restaurant on Colonel Glenn                                                                 $1,685.67




          *Findings for the total amount oflosses are required under Chapters l09A, 110, l lOA, and l 13A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
                      Case 4:13-cr-00167-KGB
AO 24SB (Rev. 10/15) Judgment in a Criminal Case
                                                                Document 202               Filed 02/10/16            Page 7 of 7
        Sheet 6 - Schedule of Payments
                                                                                                                 Judgment - Page             of
 DEFENDANT: JUSTIN PRINCE PETIIS
 CASE NUMBER: 4:13CR00167-03 JLH

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     IZI Lump sum payment of$ _10_0_.0_0_ _ __ due immediately, balance due

            D      not later than _ _ _ _ _ _ _ _ __                  , or
            D      in accordance      D C, D D, D                      E, or     D F below; or
 B     D    Payment to begin immediately (may be combined with                 D C,        D D, or       D F below); or
 C     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

D      D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                         over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

E      D Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F      IZI Special instructions regarding the payment of criminal monetary penalties:
             During incarceration, the defendant will pay 50 percent per month of all funds that are available to him. During
             residential reentry placement, payments will be reduced to 10 percent of the defendant's gross monthly income.
             Beginning the first month of supervised release, payments will be 10 percent per month of the defendant's monthly
             gross income. The interest requirement is waived.


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 Ill   Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.

        Restitution will be joint and several with any other defendant convicted on an offense for which restitution to the same
        victim on the same loss is ordered.


 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Pa~ents shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
